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                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.,

               Plaintiffs,                   No. 2:90-0520 KJM DB P
       vs.

GAVIN NEWSOM, et al.,

               Defendants.                   ORDER & WRIT OF HABEAS CORPUS
                                     /       AD TESTIFICANDUM

        Ralph Coleman, inmate # C09970, a necessary and material witness in proceedings in
this case on March 29, 2024, is confined in California Health Care Facility, 7707 Austin Road,
Stockton, CA 95215, in the custody of the Warden; in order to secure this inmate’s attendance it
is necessary that a Writ of Habeas Corpus ad Testificandum issue commanding the custodian to
produce the inmate in Court, 15th Floor, Courtroom # 3, United States Courthouse, 501 I Street,
Sacramento, California on March 29, 2024 at 10:00 a.m.

       ACCORDINGLY, IT IS ORDERED that:

       1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
commanding the Warden to produce the inmate named above to testify in United States District
Court at the time and place above, and from day to day until completion of court proceedings or
as ordered by the court; and thereafter to return the inmate to the above institution;

        2. The custodian is ordered to notify the court of any change in custody of this inmate
and is ordered to provide the new custodian with a copy of this writ; and

       3. The Clerk of the Court is directed to serve a courtesy copy of this order and writ of
habeas corpus ad testificandum on the Out-To-Court Desk, California State Prison - Sacramento,
P.O. Box 290007, Represa, California 95671.


                   WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: The Warden of California Health Care Facility, 7707 Austin Road, Stockton, CA
95215:

         WE COMMAND you to produce the inmate named above to testify before the United
States District Court at the time and place above, and from day to day until completion of the
proceedings or as ordered by the court; and thereafter to return the inmate to the above
institution.

       FURTHER, you have been ordered to notify the court of any change in custody of the
inmate and have been ordered to provide the new custodian with a copy of this writ.

DATED: March 11, 2024.
